Case 1:04-cr-00013-REM Document 243 Filed 12/05/08 Page 1 of 6 PageID #: 634
Case 1:04-cr-00013-REM Document 243 Filed 12/05/08 Page 2 of 6 PageID #: 635
Case 1:04-cr-00013-REM Document 243 Filed 12/05/08 Page 3 of 6 PageID #: 636
Case 1:04-cr-00013-REM Document 243 Filed 12/05/08 Page 4 of 6 PageID #: 637
Case 1:04-cr-00013-REM Document 243 Filed 12/05/08 Page 5 of 6 PageID #: 638
Case 1:04-cr-00013-REM Document 243 Filed 12/05/08 Page 6 of 6 PageID #: 639
